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 5
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 8                                UNITED STATES DISTRICT COURT

 9                             NORTHERN DISTRICT OF CALIFORNIA

10                                     SAN FRANCISCO DIVISION

11 EAST BAY SANCTUARY COVENANT,                          Case No. 18-cv-06810-JST
     et al.,
12
              Plaintiffs,                                MOTION OF PUBLIC CITIZEN, INC.,
13                                                       FOR LEAVE TO FILE BRIEF AS
         v.                                              AMICUS CURIAE IN SUPPORT
14                                                       OF PLAINTIFFS’ MOTION FOR
   DONALD J. TRUMP, et al.,                              PRELIMINARY INJUNCTION
15
              Defendants.                                Hearing: December 19, 2018, 9:30 a.m.
16

17

18          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
19          PLEASE TAKE NOTICE THAT Public Citizen, Inc., (Public Citizen) moves for leave to
20 file a brief as amici curiae in support of plaintiffs’ motion for a preliminary injunction. A copy of

21 the proposed amicus brief, which addresses the notice-and-comment rulemaking issue, is

22 submitted with this motion. Counsel for the parties have consented to the relief sought in this

23 motion and to the filing of a brief not exceeding one half the length of the plaintiffs’ brief.

24          The preliminary injunction is set for a hearing on December 19, 2018, and the Court has
25 ordered that amicus briefs supporting the motion be filed by today, December 5, 2018, and that the

26 opposition to the motion, as well as any amicus briefs opposing the motion, be filed by December

27 12, 2018. Accordingly, Public Citizen respectfully requests that the court grant leave to file the

28 brief before the filing date set for the opposition to the motion and the amicus briefs in opposition.
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                                      CASE NO. 18-CV-06810-JST
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 1         Public Citizen is a nonprofit consumer and public-policy advocacy organization that

 2 appears on behalf of its members nationwide before Congress, administrative agencies, and courts.

 3 Public Citizen works on a wide range of issues, including enactment and promulgation of laws and

 4 regulations protecting consumers, workers, and the public. A great deal of Public Citizen’s work

 5 involves participation in federal rulemaking proceedings and in litigation seeking judicial review

 6 of agency actions in such proceedings, where Public Citizen appears as both a challenger of

 7 unlawful agency action and a defender of lawful exercises of agency authority. As a result, Public

 8 Citizen has considerable interest in and experience regarding the principles of administrative law

 9 that govern agency rulemaking, including those that determine whether an agency action is a rule

10 whose promulgation requires compliance with the notice-and-comment rulemaking procedures set

11 forth in 5 U.S.C. § 553. Public Citizen submits this brief to assist the Court in appreciating the

12 importance of the notice-and-comment procedures that were bypassed in the issuance of the rule

13 challenged in this case and the consequent narrowness with which the statutory exceptions to

14 notice-and-comment rulemaking must be applied.

15                                           CONCLUSION

16         For the foregoing reasons, Public Citizen respectfully requests leave to file the amicus

17 brief submitted herewith.

18                                                     Respectfully submitted,

19                                                     /s/ Jocelyn D. Larkin
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24                             Counsel for Amicus Curiae Public Citizen, Inc.

25 DATED: December 5, 2018

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